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                                 August 16, 2024


VIA ELECTRONIC FILING

Honorable Lynn S. Adelman
United States District Court
Eastern District of Wisconsin
517 East Wisconsin Avenue
Milwaukee, WI 53202

      RE:   Roumann Consulting Inc., and Ronald Rousse v. T.V. John & Son, Inc.,
            and The Kroger Co.
            Eastern District of Wisconsin Case No. 17-CV-1407

Dear Judge Adelman:

      We have received Mr. Oettinger’s request for an emergency hearing. We
thought the Court would benefit from either an identification of the items
Mr. Oettinger is objecting to and the actual exhibits.

      There is only one new expert report on the amended exhibit list—
Exhibit 148. Exhibit 148 is the new expert report of Mr. Kuhn which was filed on
July 29, 2024. (the subject of the motion denied today).

        Exhibits 142, 145, 146, 147 and 151 are document summaries which contain
totals from Defendants’ own exhibits that are going to be put into evidence. The
supporting defense exhibit is noted for each piece of information. They are not
expert opinions. These documents will be used with fact witnesses to expediate the
trial given the cumbersome nature, length, and number of the relevant exhibits.

       Exhibit 149 and 150 simply repeat information from Mr. Minnich’s and
Mr. VanderBloemen’s earlier reports and delete entries that relate to claims that
were dismissed on summary judgment. Mr. Oettinger agreed earlier this week that
this should be done by both sides. Exhibits 149 and 150 are not adding opinions—
they are removing them.




      Case 2:17-cv-01407-LA     Filed 08/16/24   Page 1 of 2        Document 155
Honorable Lynn S. Adelman
United States District Court
August 16, 2024
Page 2


      Exhibit 151 is a summary exhibit, which again identifies the supporting
underlying exhibits. It was submitted in anticipation of the Court’s allowing
Mr. Kuhn’s July 25, 2024 amendment of his opinion. The Court issued its decision
allowing Mr. Kuhn’s revised opinion today. Exhibit 151 is not an expert report.

       Exhibit 152 is a second updated of Mr. VanderBloemen’s damage analysis
based on Mr. Kuhn’s July 25, 2024 opinion. This was also submitted in anticipation
of the potential denial of Plaintiffs’ motion to preclude Mr. Kuhn’s new opinions.

      None of these opinions contain classic opinion testimony. Instead, they
simply revise the original opinions based on the data provided by Mr. Kuhn.
Exhibits 151 and 152 exclusively respond to Mr. Kuhn’s report.

       Not filed with the Court are Exhibits 143 and 144, which are learned
treatises that will be used in cross of Mr. Kuhn and perhaps other witnesses
relating to the method Mr. Kuhn employed in his July 25, 2024 report.

                                Very truly yours,

                                s/ Scott R. Halloin

                                 Scott R. Halloin


SRH/kmn
Enclosures: Listed above.
cc:         Andrew S. Oettinger, Esq. (via Email via E Filing)
            Christie B. Carrino, Esq. (via Email E Filing)




      Case 2:17-cv-01407-LA    Filed 08/16/24    Page 2 of 2     Document 155
